The appeal in this case brings up nothing whatever for review. There are no exceptions contained *Page 618 
in the case, as settled, nor any allusion to any, as having been taken at any time. There is nothing, therefore, to review, as has been repeatedly held by this court. (Hunt v. Bloomer, 3 Kern. 341; Magie v. Baker, 4 id. 435.) The printed paper, purporting to be exceptions taken at some time, does not appear by anything which can be gathered from any statement in the printed book, or from its connection with other papers, to have been a part even of the judgment roll. For aught that appears, it was a mere loose paper, filed in the case. But if it was a part of the judgment roll, it could not avail the defendant, as it is not referred to in the case, and is not brought up by the appeal as any part of such case. In addition to all this, if the exceptions which appear, were in the case, they would present no question which this court could review, according to the settled practice. No exception is taken to the decision upon the law. They relate exclusively to the finding upon matters of fact, which would not be reviewable here. (Davis v. Spencer, 24 N YR. p. 390; Hoyt v. Thompson's Executor, 19 id. 212.) The judgment should therefore be affirmed.
All the judges concurring, judgment affirmed. *Page 619 